
EDWARD N. SCRUGGS, Retired Circuit Judge.
The prior opinion of this court, 461 So.2d 1330 (Ala.Civ.App.1984), has been reversed and remanded by the Alabama Supreme Court, 461 So.2d 1332 (Ala.1984). On remand to this court, and in compliance with the supreme court’s opinion of November 9, 1984, this case is now reversed and remanded to the trial court.
The wife’s initial request for the award of an attorney’s fee on appeal is granted, and we fix that fee at $1,000.
The foregoing opinion was prepared by Retired Circuit Judge EDWARD N. SCRUGGS while serving on active duty status as a judge of this court under the provisions of section 12-18-10(e), Code 1975, and this opinion is hereby adopted as that of the court.
REVERSED AND REMANDED.
All the Judges concur.
